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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

ABD AL-RAHIM HUSSAIN MOHAMMED )
AL-NASHIRI, )
)

Petitioner, )

)

v. ) Casc No: 08-cv-1207-RCL

)

BARACK OBAMA, et al., )
)

)

Respondents. )

)

ORDER

Upon consideration of respondents’ motion for partial reconsideration and clarification
[270], petitioner’s opposition thereto, and the record herein, respondents’ motion is hereby
DENlED. There is no intervening change in the law, no new evidence not previously available,
and no clear error in the Court’s prior Order.

Moreover, the Court’s Order placing a copy of the Senate Report in the custody of the
Court Information Security Office does not authorize access to the Report. Before access is
authorized, the Court would clearly be required to solicit the views of the Legislative Branch as
well as the Executive Branch. 'l`he Court is obliged, however to protect petitioner’s possible
right of access to the Report if the Court determines such access is necessary to the adjudication
of this case.

There is no basis for a stay [271] pending consideration of a possible appeal by the
respondents, so the alternative motion for a stay is DENIED.

The petitioner’s cross-motion [272] for immediate relief is also DENlED. Respondents

are no doubt aware that this Court has had a contempt trial and found an agency in contempt

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Wh€n it destroyed an agency head’s hard drive the clay of a prior Inauguration. This Court is
confident that respondents will not want a contempt trial here when the Court’s Order is crystal

clear.

It is SO ORDERED.

Date'. January /_q 2017 24 (‘ ' M

Roy{€ C. Lamberth
United States District Judge

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